 

Case 3:13-cv-04405-G-BN Document 19 ‘Filed 01/21/14 Page1lofi PagelD 50

  
  

IN THE UNITED STATES DISTRICT COURT,

  

FOR THE DISTRICT OF TEXAS a
é oy. , f Vi *
Joe Hunsinger we ANG We Oa
Plaintiff Pro-Se’ Case No: 3-1 3-CV=440 5-G
V .

BILL ME LATER, INC.

STIPULATED OF DISMISSAL FOR BILL ME LATER, INC.

It is hereby stipulated and agreed by Plaintiff and the Defendant Bill Me Later, Inc.
that the parties hereby stipulate to the dismissal of Bill Me Later, Inc.
with prejudice and request that a judgment of dismissal for Bill Me Later, Inc. to

entered in the above entitled action pursuant hereto.

Respectfully submitted January ol , 2014.

Lv

Joe HugSinger

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Dallas, Texas 75217
Joe75217@gmail.com
214-682-7677

CERTIFICATE OF SERVICE
I hereby certify that a copy of the forgoing has been served upon the Defendant’s attorney via

regular mail on January ., 2014

cd Ww
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